        Case 1:21-cv-00957-JHR-SMV Document 5 Filed 10/08/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

Adam Candelaria,

               Plaintiff,

v.                                                          Case No. 1:21-cv-00957-JHR-SMV

Vroom Automotive, LLC d/b/a
Vroom.Com,

               Defendants.


     ORDER ON DEFENDANT’S MOTION TO WITHDRAW NOTICE OF REMOVAL

        Defendant filed a Notice of Removal on September 29, 2021 (Document 1) premised on

the Court’s diversity Jurisdiction. Defendant has moved to withdraw the Notice.

        Upon Motion and Good Cause Appearing, it is therefore ORDERED and ADJUDGED

that:

        1. Defendant’s Motion to Withdraw Notice of Removal (Document 3) is GRANTED;

        2. All pending motions are hereby dismissed without prejudice as moot; and

        3. This case is REMANDED to the Second Judicial District Court for the State of New
           Mexico, County of Bernalillo. The Clerk is also directed to forward a certified copy of
           this Order to that Court.


        DONE and ORDERED this 8th day of October, 2021




                                      Judge
                                      United States District Court, District of New Mexico




                                                1
       Case 1:21-cv-00957-JHR-SMV Document 5 Filed 10/08/21 Page 2 of 2




Submitted by:


/s/Louis W. Horowitz
Louis W. Horowitz, F.B.N. 14-7
LORBER, GREENFIELD & POLITO, LLP
820 Second Street NW
Albuquerque, NM 87102
Telephone: (505) 307-4332
lhorowitz@lorberlaw.com
Counsel for Defendant Vroom
Automotive, LLC d/b/a Vroom.com


Approved as to form:


approved electronically via email on 10/7/21
Joshua Bradley
BRADLEY LAW
1306 Rio Grande Blvd. NW, Suite B
Albuquerque, NM 87104
T: (505) 585-4529
josh@BradleyLawNM.com
Counsel for Plaintiff




                                               2
